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I                                                                                                                                                Page2
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                                                          PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                                                        HABEA~   CORPUS BY A PERSON IN STATE CUSTODY


                                                                                       I
                                                                                                            J



                                        United States District Court                       District Di   s t r i ~ t of Kansas
                      Name (underwhioh you were convicted):                                                       Docket or Case No.:
                       Andre D. Bailey                                                                            14-CV-3626
                      Place of Confinement:                                                               Prisoner No.:
                       Norton Correctional Facility                                                          92914

                      Petitioner (include the mmte under which you were convicted)        Respondent (authorl:zed person having custody of petitioner)
                       Andre D. Bailey                                                v. Joel Harabe, Warden, N.C.F.
                                                                                         state of Kansas, et.al.
                     The Attorney General of the State of
                                                                                            Derek Schmidt,                  A.G.

                                                                                PETITION


                 1.     (a) Name and location ofcourt that entere'd the judgment of conviction you are challenging:S e dgw i ck
                       County, Kansas, 18th Judicial District
                    locat~d in Wichit~, Kansas
                    (b) Criminal docket or case number (if you know): -=2-=0~0'"-"8~C.....R...__=1~3~7_ _ _ _ _ _ _ _ _ __
                2. (a) Date of the judgment of conviction (if you know): _S_e_..._p_t_._1_2~,_2_0_0_8_ _ _ _ _ _ _ _ __
                   (b)Dateofsentencing: Oct. 9 2008
                3. Lengthofsente~ce: controlling term life (20yrs) pl11s 59 months
                4. Jn this case, were you convicted on more than one count or of more than one crime?         Yesltl   "No 0
                5: Identifv all crii;nes of which you1werefonvicted and sentenced in this case: Fe 1 On Y mUr de r ,
                 aggr~~atea robbery,2x;, aggravated burglary(2x) criminal
                                   ..
                 discharge of a firea,rrn· at .a occ.upie.~ :dwelling, posses ion of
                 marijuana with intent io sell, no tax stamp


                6.      (a) What was your plea? (Check one)
                             (1)           Not guilty   f3i                     (3)        Nolo contendere {no contest) 0
                             (2)           Guilty 0                             (4)        Insanity plea 0




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                                                                                                                            Page3

                (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did
               you plead guilty to and what did you plead not guilty to?._ _N~/._A_____________




               (c) If you went to trial, what kind of trial did you have? (Check one)
                    Jury   «I          Judge only 0.
         7.    Did you testify at a pretrial hearing, trial, or a post-trial hearing?
                    Yes D No~
         8.    Did you appeal from the judgment of conviction?
                    Yes~ No 0
         9.    Ifyou did appeal, answer the following;
               (a)Nameofcourt: Kansas Court ·of Appeals
               (b) Docket or case munber (if you know): _0_9_-_1_0_1_7_8_5_ _ _ _ _ _ _ _ _ _ _ _ _ __
               (c) Result:      a~ firmed
              (d) D~te of result (if you know): _J_u_l_.y:_1_5--L..,_2_..;._0.:.c.1.:.c.1_ _ _ _ _ _ _ _ _ _ _ _ _ __
              (e)Cj'.~tiontothecase(ifyouknow): State v.
                                                  Bailey, 292 Kan. 449, 255 P.3d
              (f)Gro~dsraised:AuthorizB;tion for prosecution as adult, felony
               murder underlyi-ng felonies instruc~ion, deficient and

                 ineffective, co-defendants refused to                                       testify after plea~
               ding 5th ammendment,                        failure          to define attempt in i.nstru-
              ctin •


              (g) Did you seek further review by a higher state court?       Yes XX No 0
                  If yes, answer the following:
                   (l)Nameofcourt:Kansas Supreme Court
                   (2) Docket or case nwnber (if you know): _0_9_-_1_0_1_7_8_5_ _ _ _ _ _ _ _ _ _ _ _ __
                   (3 )~esult:   affirmed


                  (4)Dateofresult(ifyouknow):           October 14,               2011
                  (5)Citationtothecase(ifyouknow):State v. Bailey 292 Kan.                                  449,      255 p;
                  3Ci 19 2011
                  (6) Grounds raised:    same as above
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                                                                                                                                                     Page4 .
       (h) Did you file a petition for certiorari in the United States Supreme Court?                                    Yes D NoJb
            If yes, answer the following:
            (1) Docket or case number (if you k n o w ) : - - - - - - - - - - - - - - - - - - -
            (2) Result: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



            (3) Date ofresult (if you k n o w ) : - - - - - - - - - - - - - - - - - - - - -
           (4) Citation to the case (if you k n o w ) : - - - - - - - - - - - - - - - - - - - -
10. Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions
    concerning this judgment of conviction in any state court?
        Yes el No 0
11. Ifyour answer to Question 10 was "Yes," give the following information: ·
    (a) (l)Nameofcourt:Sedgwick County, 18th Judicial Court (civil)
        (2) Docket or case number (if you lrnow): _1_2_-_C_V_-_3_6_2_6_ _ _ _ _ _ _ _ _ _ __
        (3) Date of.filing (ifyou know): _O_c_t_o_b_e_r__ 1_1_,_,_2_0_1_2_ _ _ _ _ _ _ _ _ _ __
           (4)Natureoftheproceeding: K.s::A. 60-1507 and ammended
           (S)Groundsraised: ineffective assista·nce of counsel poth trial
           and direct, Trial counsel failed to instruct on theory
         of defense that underlying felonies were completed by law
         same gr6unds as direct. prosectorial misconduct vouching
         and statements durin closin arguments, off-the-record
         discussion. failure to supress statments an evidence
           S"eiz.ed.



          (6) Did you receive a b,earing where             evidence was given on your petition, application, or motion?
                  Yes~ No 0
        . (7)Result: denied
          (8) Date ofresult (ifyou know): . . .;AC.:Jpc:. r; ;:. ; :; .i.;: .l-=1.. :. 7. .,._;;:2:.. .:0;.. ;::1;;.;:5;:.. . . . . ·- - - - - - - - - - - -
      (b) If you filed any second petition, application, or motion, give the same information:
          (l)Nameofcourt: Sedgwick County, 18th Judicial Court (civil)
          (2) Docket or case number (if you know): =.1_,, _2_-_,,C,_,V'--_,3""'6, . 2. ._. .6_ _ _ _ _ _ _ _ _ _ _ __
          (3)Dateoffiling(ifyoukriow):April 21st and April 23rd 2015
          (1)Nature pfthepro~"-eding · object ion to findings/ Alter or amend
           i.nvok1ng rule OS                   1                         ,
          (:>J Grounds raised:--------~---------------­
          court adopting states findings as it's own as being··.:
         highly suspect/ distri~t court must make sufficient
         findings and conclusions of law for each argument for
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                                                                                                            Pages
     meaningful review pursuant to Supreme rule 165.·




      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?
               Yes C:X.No 0 ·
      (7)Result: denied
                                       May 1st, 2015
      (8)Dateof resu lt(Jf you know:
                                   ) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 (o) If you filed any third petition,, application, or motion, give the same information:
      (l)Nameofcourt:       Kansas Court of Appeals
     (~) Do~ket or case number (if you know): _1_4_-_C_V_-_3_6_2_6______....________
                                        1·s t_,-2fil7---------------
     (3) Date of filing (if you know): .May
     (4) Nature ofthe prl)ceeding: Appeal of 60-1507
     (5) Grounds raised:    Same as 60:::1.5 0 7




     (6) Did you receive a hearing .where evidence was given on your petition, application, or motion?
            ·Yes 0 No~
     (7) Result:   denied
    (B)J)ateofresult(ifyouknow): October 27th,                      2017.
(d) Did you appeal"t~ the highest state court having jurisdiction over the action taken on your petition,
application, or motion?
    (1) First petition:         Yes Kl No 0
    (2) Second petition:        Yes l» No 0
    (3) Third petition:         Yes!! No D
(e) If you did not appeal to the highest state court having jurisdiction, explain why you. did n o t : - - - - -
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 12. For this petition, state every ground on whfah you claim that you are being held in violation of the Constitution,
      laws, or treaties of the United States. Attach additional pages ifyou have more than four grounds. State the
     facts supporting each ground.


     CAUTION; To proceed in the federal_ court. you must ordinarily first exhaust (use up) your available state-court
     remedies on each ground on which you request action by the federal court. Also, if you fail to set forth all the
     groun~s in this petition, you may be barred from presenting additional grounds at a latei: date.


 GROUND ONE: Ineffective assistance                                 or    trial counsel


__(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):------
Fail u':i:- e to object on refusal to instructon ·reckless s'econd-
aegree as lesser, failure to give instructipn on d~fense,
failure to obfect to state ~alljug co-defendants to testjfy
•fter they invoked the.5th amendment, failure to supress
statements made involuntary,failure to.object to pr~secutor
Yopching for witn~sses, failure to object to prosecut6rial
misconduct; failure to ~biect to off-the-record di~e6~siofi.
(b) If you did not exhaust your state remedies on Ground One, explain wliy: _ _ _ _,._____ _ _ _ _ _ __




(c) '·Direct Appeal of Ground One:
    (1) If you appealed from the judgment of conviction, did you raise this issue?
         Yes~ No 0
    (2) If you did not raise this issue in rour direct appeal, explain why: - - - - - - - - - - - - - -




(d) :Post~Convi.ction Proceedings:
    (1) Did you raise this issue through a post"conviction motion or petition for· habeas corpus in a state trial court?
         Yes   lJ   No 0
    (2) If your answer to Question (d)(l) is "Yes," state:
    Type of motion or petitioil:;   K• S •A • . 6 0 -15 0 7
    Name and location of the court where the motion or petition was filed: S e d g W i Ck        C   Oun t Y
    18th Judicial D~strict Court (civil)
    Docket or case number (ifyou know): _1_2_-_C_V_-_3_6_2_6________________,_
    Date of the court's decision:   Apr i 1 1.7, 2 015
                                    -----~--------~-----------
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      Result (attach a copy of the court's opinion or order, if available): _d_e_11_ 1_·_e_d___________




      (3) Did you receive a hearing on your motion or petition?
           Yes   i:J-:No   0
      (4) Did you appeal from the denial of your motion or petition?
          Yes [J. No       D
      (5) If your answer to Question (d)(4) is "Yes,'' did you raise this issue in the appeal?
          Yes    CX   No   D
      (6) If your answer to Question (d)(4) is "Yes,'' state:
     Name and location of the court where the appeal was filed:       Kansas court of App ea ls

     Docket or case number (if you know): _1_4_-_C_V_-_3_6_2_6________________
     Date of the court's decision:   March 31            20 1 7 -
     Result (attach a copy of the court's opinion or order, if available): _d_e_1_11_·_e_d___________




     (7) If your answer to Question (d)(4) or Question (d}(5) is "No," explain why you did not raise this issue~




(e) -Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you
     have used to exhaust your state remedies on Ground One:-----------~-----




GROUND TWO:            Ineffective ass is ta nee of appellate counsel (direct)

(a) Supporting facts (Do not argue or cite law.. Just state the specific facts that support your claim.):   Fa i 1 Ure to
instruct on reckless second degree, failure to raise prosecu~~
torial misconduct on direct, failure to ·raise district court
answering a crucial jury question outside the presence of the
~ppellate.
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(b) If you did not exhaust your state remedies on Ground Two, explain w h y : - - - - - - - - - - - - -




(c) Dil'ect Appeal of Ground Two:
    (1) If you appealed from the judgment of conviction, did you raise this issue?
         Yes~ No 0
    (2) If you djd not raise this issue in your direct appeal, explain why: - - - - - - - - - - - - - -




(d) Post-Conviction Proceedings:
    (1) Did you raise this issve through a post-conviction motion or petition for habeas corpus in a state trial court?
        Yes~       No 0
    (2) If your answer to Question (d)(l) is "Yes," state:
   Type of motion or petition:     K, S. A. 60-150 7
   Name and locationof)hecourtwhere the motion or petition was filed:         Sedgwick county, 18th
    Judicial District Court (civil)
   Docket or case number (if you know): _1_2_-_C_V_-_3_6_2_6_____-                   __________
   Date of the court's decision:    AP r i 1 1 7 , 2015
                                   --'------'-------~------------~
   _Result (attach a copy of the court's opinion or order, if available): _d_e_n_i_'e_d___________




   -(3) Did you receive a hearing on your motion or petition?
       Yes~ No 0
   (4) Did you appeal from the denial of your motion or petition?
       Yes   Qr.   No 0
   (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?
       Yes~ No 0
   (6) If your answer to Question (d)(4) is "Yes," state:
  Nameandlocationofthecourtwheretheappealwas:filed:              Kansas Court Of Appeals

  Docket or case number (ify_ou know): _1_4_-_C_V_~_3_6_2_6________________
  Date ofthe court's decision: March 31, 2017.
                                 ------'---------------------
  Result (attach a copy of the court's opinion or order, if available): _d_e_;1_1_i_e....:d-'------------
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     (7) If your answer to Question (d)(4) or Question (d)(5) is ''No," explain why you did not raise this issue:




 (e) Other Remedies: Describe any other procedures (such as liabeas corpus, administrative remedies, etc.) that you
     have used to exhaust your state remedies on Ground T w o : - - - - - - - - - - - - - - - - -




 GROUNDTHREE:            Off-the-record discussion

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):------
During deliberations the jury sent a question out asking "can
we consider a second degree murder charge? and if no, what is
the diffrence between first degree and second degree murder?''




(b) If you did not exhaust your state remedies on Ground Tirree, explain why: - - - - - - - - - - - -




(c) Direct Appeal of Ground Three:
    (1) If you appealed from the judgment of conviction, did you raise this issue?
        Yes a<l No 0
    (2) If you did not raise this issue in your direct appeal, explain w h y : - - - - - - - - - - - - - -



(d) Post-Conviction Proceedings:
    (1) Did you raise this issue through apost-conviction motion or petition for habeas corpus in a state trial court?
        Yes® No 0
    (2) Ifyour answer to Question (d)(l) is "Yes," state:
   Typeofmotionorpetition: K.        S .A.     60~1507
   'N.ame and location of the court where the motion or petition was filed: Se d g Wi Ck      Co U 11 t y , 1 8 th
    Judicial District Court (civil)
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       Docket or case number (if you know): _ _1_2_-_C_V_-_3_6_2_6________________
       Date of the court's decision:     AP r i 1 1 7 ' 2 0 15
       Result (attach a copy of the court's opinion or order, if available): _d~e~1~1~i~e~d~----------




       (3) Did you receive a hearing on your motion or petition?
           Yes{]{ No 0
       (4) Did you appeal from the denial of your motion or petition?
           Yes   cJ'. No   0
       (5) If your answer to Question (d)(4) is ''Yes," did you raise this issue iri the appeal?
           Yes clCNo 0
       (6) If your answer to Question (d)(4) is ''Yes," state:
       Name and location of the court where the appeal was filed:     Kan Sas Court Of Appeals

       Docket or case number (if you know): _1_4_~_C_V_-_.3_6_2_6________________
      Dateofthecourt'sdecision:         March 31            2017
      Result (attach a copy of the court's opinion or order, if available): _Cl_e_1_1_i_e_d___________




      (7) Ifyour answer to Question (d)(4) or Question (d)(5) is "No," exp~ain why you did notrai~ethis issue:




(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedles, etc.) that you
      have used to exhaust your state remedies· on Ground T h r e e : - - - - . , . . . - . - - - - - - - - - - - -




9ROUNDFOUR:_P_r_o_s_e_c_u_t_o_r_i_a_l__m_i_s_c_o_1_1d_u_c_t_______________

~)   Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):------
Prosecutor commited misconduct during closing arguments by
mis~tating Kansas law,  Prosecutor commited misconduct by
vouchjng for states witnesses
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(b) If you did not exhaust your state remedies on Ground Four, explain w h y : - - - - - - - - - - - - -




(c) Direct Appeal of Ground Four:
    (1) If you appealed from the judgment of conviction, did you raise this issue?
         Yes   'Kl    No   0
    (2) If you did not raise this issue in your direct appeal, explain w h y ; - - - - - - - - - - - - - -


(d) Post-Conviction Proceedings:
    (1) Did you raise thi_s issue through a post-conviction motion or petition for habeas corpus in a suite trial court?
        Yes    :ttJ   No   0-
    (2) If your answer to Questiqn (d)(l) is "Yes,'' state:
   Type of motion or petition: _K_.S----'.A'--._6..;_0_-....:1"-5'-0.;_7.;_________---,--_________
   Name and location offue court where them~tion or petition ~as filed:      Sedgwick count Y' 18th
   Judicial District Court (civil)
   Docket or case number (ifyouknow): __1_2_-_C_V_-_3_6_2_6________________
   Date of the court's decision:      Apr i 1 1 7 , 2015
   Result (attach a copy of the court's opinion or order, if available): _d_e_n_i_e_d
                                                                                    ___________



   (3) Did you receive a hearing on your motion or petition?
        Yes~ No 0
   (4) Did you appeal from the denial of your motion or petition?
       Yes     iXl    No   0
   (5) If your answer to Ques~on (d)(4) is. "Yes," did you raise this issue in the appeal?
    - Yes~ No              0-
   (6) If your answer to Question (d)(4) is "Yes," state:
                                                                   Kansas Court Of Appeals
  Name and location of the court where the appeal was f i l e d : - - - - - - - - - - - - - - - - -


  Docket or case nuinber (if you know): _1_4_-_C_V_-_3_6_2_6_______...,_________
  Dateofthecourt's decision:       March 31, 2017
                                 ~------------------------~
  Result (attach a copy of the court's opinion or order, if available): _d_e_n_i_e_d
                                                                                   ___________
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    (7) If your answer to Question (d)(4) or Question (d)(5) is ''No," explain why you did no.t raise this issue:




(e) Other Remedies: Describe any·other procedures (such as habeas corpus, administrative remedies, etc.) that you
    have used to exhaust your state remedies on Ground F o u r : - - - - - - - - - - - - - - - - - - -




13. ExHAUSTION - Please answer these additional questions about the petition you are filing:
    (a) Have all grounds for relief ~hat you havii raised in this petition been presented to the highest .state court
        bavingjurisdiction?          Yes ~ No D
        Ifyour answer is "No," state which grounds have not been so presented and give your rel!Son(s) for not
        presentingthem: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-'--




   ..(b) Is there any gr~und in this petition that has not been presen~ed in some state or federal court? If so, which
    ground or grounds have not been presented, and state )'.our reasons for not presenting them; - - - - - - -




14. SUCCESSIVE APPLICATIONS- Have you previously filed any type of petition, application, or motion in a
   federal court regarding the conviction that you challenge in this petition?       Yes   0 No Kl.
   If ''Yes," state the name and location Of the court, the docket or case number, the type of proceeding, the issue.s
   raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a
   copy of any court opinion or ord~r, if a v a i l a b l e . - - - - - - - - - - - - - - - - - - -
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       15. Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal,
           for the judgment you are challenging? Yes 0       N~
           If"Yes," state the name and location of the court, the docket or case numb.er, the type of proceeding, and the
           issues r a i s e d . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




      16. Give the name and address, if you know, of each attorney who represented you in the following stages of the
          judgment you are challenging:
                                               Julia Craft (juvenile)
           (a) At preliminary h e a r i n g : - - - - - - - - - - , - - - - - - - - - - - - - - - - -

                                               Julia Craft (juvenile)
          (b) At arraignment and p l e a : - - - - - - - - - - - - - - - - - - - - - - - - -

          (c)Attrial:      Terry Beall, Allied building Suite 150, 355 N. waco
            Wichita, KS 67207
                               Terry
          (d) At sentencing: _ _ _ _ _ Beall
                                       _ _ _ _same
                                               ___ as_ _
                                                       above
                                                         _ _ _ _ _ _ _ _ _ _ _ _ _ __


         ·:(e) On appeal:      Michael Whalen,6235 w. Kellogg, Wichita, KS 67209

          (f) In any post-conviction proceeding:    Richard Ney, 200 n. Broadway, Suite
            300, Wichita, KS 67202
         ;(g) On appeal from any ruling against you in a P..ost-convictionproceeding: Kr~ Sten B' • , Patty
            P.O. BOX 3545 Wichita, KS


      17. Do yo~have any future sentence to serve after you complete the sentence for the judgment that you are
          challenging?            Yes 0 No ~ ·
          (a) If so, give name and location of court that imposed the other sentence you will serve in the future:,..-----

                                           '
         (b) Give the date the other sentence was i m p o s e d : - - - - - - - - - - - - - - - - - - -
         (c) Give the length of the other s e n t e n c e : - - - - - - - - - - - - - - - - - - - - - -
         (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in
         the future?     Yes   0 No 0
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 18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain
     why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*
       Petitioner has affixed a moiin to this Habeas Corpus filing,
       Please find attached motion entitled:
       "Moti"on for leave to file out of time" for full and complete
        reason which shows in detail an exc~ptional circumstance
        explaining the reason for a need to file this action out ·
        of time.




"The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d)
provides in part that:

    (1) A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
    custody pursuant to the judgment of a State court. The limitation period shall run from the latest of-
          (A) the date on wl1ich the judgment became final by the conclusion of direct review or the expiration of the
         time for seeking such review;
         (B) the date on which the impediment to filing an application created by State action in violation of the
         Constitution or laws of the United States is removed, if the applicant was prevented from filing by such
         state action;
         (C) the date on which the constitutional right asserted was initially recognized by the Supreme Court, if the
         right has been newly recognized by the Supreme Court and made retroactively applicable to cases on
         collateral review; or
         (D) the date on which the factual predicate of the claim or claims presented could have been discovered
        through the exercise of due diligence.
   (2) The time during which a properly filed application for State post-conviction or other collateral review with
   respect to the pertinentjudgnient or claim is pending shall not be counted toward any period oflimitation under
   this subsection.
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                                     re Ver Se C 011 Vi C ti O 11 and
 Therefore, petitioner asks that the Court grant the following relief:
  remand for a new trial to the District Court with any
  direction deemed Rroper and correct by this court.
 or any other relief to which petitioner may be entitled.



                                                              N/A Pro-Se filing
                                                              Signature of Attomey (if any)




I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this


      J
       fa
Petition     Wri/'.fHabeas Corpus was placed in theprisonmiltllb~ ~lfnHti= e lee tr' on ic f i
             2--    If"'                             (month, date, year) ..
                                                                                                               1 i ng

      ('

Executed (signed)   on_....,J,_~_<z._zP~'/_fY
                            ~7
                                           ___ (date).


                                                              Signature of Peti · ner
                                                            Andre D. Bailey
If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing
thispetition.~_N_/_A~~~~~~~~~~--'~~~~~~~~~~~~~~~~



                                                     *****
       YJ.~J           bpo,.t.. ~           ,,t..I

           /\-1 c. .-c.4.   2. 2., 20 ( g
           ---41-1-1-t:~L-
